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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 23-5044                                                 September Term, 2023
                                                                       1:23-sc-00031-BAH
                                                        Filed On: September 15, 2023
In re: Sealed Case,


       BEFORE:        Pillard, Childs, and Pan, Circuit Judges

                                         ORDER

      Upon consideration of appellant’s unopposed motion to unseal its petition for
rehearing en banc and to unseal this appeal going forward such that any future filings
can be filed publicly in the first instance, except insofar as they contain material that
remains under seal, it is

       ORDERED that the motion be granted. It is

      FURTHER ORDERED that appellant’s petition for rehearing en banc be
unsealed. It is

       FURTHER ORDERED that this appeal going forward be unsealed such that any
future filings can be filed publicly in the first instance, except insofar as they contain
material that remains under seal.

       The Clerk is directed to file this order on the public docket. The Clerk is further
directed to unseal appellant’s petition for rehearing en banc and docket it on the public
docket.


                                        Per Curiam


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Daniel J. Reidy
                                                          Deputy Clerk
